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14                            UNITED STATES DISTRICT COURT
15                                   DISTRICT OF ARIZONA
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17   Mark Brnovich, in his official capacity as
     Attorney General of Arizona, et. al,
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                       Plaintiffs,
19
     v.
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21   Joseph R. Biden in his official capacity as
     President of the United States, et. al        Civil Action No. 2:21-CV-1568-MTL
22
23                   Defendants.
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26        DEEFENDANTS’ SECOND NOTICE OF SUPPLEMENTAL AUTHORITY
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 1         DEFENDANTS’ SECOND NOTICE OF SUPPLEMENTAL AUTHORITY
 2           Defendants submit this notice to advise the Court of a recent decision from this
 3   District relevant to the issues in this case. In State of Arizona v. Mayorkas, CV-21-00617-
 4   PHX-DWL (Arizona II)1, Arizona sued several federal agencies and officials for
 5   implementing “the Population Augmentation Program,” which it claimed increased
 6   Arizona’s population via immigration. Id. at ECF No. 13, ¶¶ 1-12, 33, 61-65. In a separate
 7   cause of action, Arizona challenged Defendants’ termination of work on the border wall,
 8   which it claimed resulted in a substantial increase in illegal entries by noncitizens. Id., ECF
 9   13 ¶¶ 78, 85, 89. As noted in Defendants’ Reply in Support of Motion to Dismiss, in
10   denying Arizona’s motion for a preliminary injunction, the district court in Arizona II
11   rejected Arizona’s argument that its alleged environmental and economic injuries,
12   including emergency health care costs and costs associated with law enforcement,
13   conferred standing. See Defendants’ Reply, ECF No. 174, at 7-8, citing Arizona II, ECF
14   No. 47 at 14. In that same decision, the Arizona district court also held that the
15   Administrative Procedure Act (APA) does not authorize the amalgamation of discrete
16   actions to provide standing to challenge it as a “program.” Defs’ Reply, ECF No. 174, at
17   8, citing Arizona II, ECF No. 47, at 9. The Arizona II Court has now extended this same
18   logic to its decision granting in substantial part the government’s motion to dismiss
19   Arizona’s claims. See Arizona II, 21-CV-617, ECF No. 64 (attached hereto).
20           As relevant to this litigation and Defendants’ pending Motion to Dismiss (ECF No.
21   146), the district court, by Judge Lanza, ruled that Arizona lacked standing to pursue its
22   border wall claims. Arizona II, ECF No. 64, at 10. Relying upon the Sixth Circuit’s recent
23   decision in Arizona v. Biden, --- F.Supp.3d ----, No. 3:21-cv-314, 2022 WL 839672 (S.D.
24   Ohio Mar. 22, 2022) (Arizona (Ohio)—see Defendants’ Notice of Supplemental Authority,
25   ECF No. 186—Judge Lanza held that Arizona had not established the causation necessary
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       In Defendants’ Reply in Further Support of the Motion to Dismiss, ECF No. 174,
     Defendants referred to this case as Arizona II, so for the sake of consistency, does so here
28   as well.

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 1   to confer standing, because the state did now show how the government’s decision with
 2   respect to the border wall would affect independent third-party actor’s (potential migrants)
 3   decision to pursue illegal immigration. Arizona II, ECF No. 64, at 14-15. The Court noted
 4   “an alien’s decision to risk life and limb to come to the United States…is uniquely
 5   influenced by ‘myriad . . . economic, social, and political realities.’” Id., quoting
 6   Whitewater Draw Natural Resource Conservation District v. Mayorkas, 5 F.4th 997, 1015
 7   (9th Cir. 2021). In reaching this conclusion, the district court in Arizona II, rejected
 8   Arizona’s reliance on the “special solicitude” doctrine derived from Massachusetts v. EPA,
 9   549 U.S. 497 (2007), for the proposition that it need not establish a direct causal link
10   between the policy challenged and the harm alleged. Arizona II, ECF No. 64, at 12-13.
11   Judge Lanza wrote, “the question here isn’t whether Arizona is, in general, entitled to
12   special solicitude in the standing analysis… the issue is that it is unclear whether the special
13   solicitude doctrine goes to the causation prong of the standing inquiry.” Id. (cleaned up).
14   The Court, following the lead of the Sixth Circuit in Arizona (Ohio), answered the question
15   in the negative. Id. at 13-14.
16          Judge Lanza’s decision in Arizona II is relevant here because Arizona argues in this
17   litigation that Defendants’ alleged en masse parole policies induce illegal immigration—
18   see, e.g., Third Amended Complaint at ¶ 147 (“Defendants’ actions encourage a greater
19   influx of unauthorized aliens into Arizona”), ¶ 148 (“Defendants’ [] use of parole to allow
20   hundreds of thousands of aliens to enter the United States, necessarily increases the number
21   of unlawfully present aliens in Arizona”—and that it does not need to establish causation
22   because, as a state, it is entitled to “special solicitude” in the standing analysis under
23   Massachusetts v. EPA, 549 U.S. 497, 520 (2007). See Plaintiff’s Opposition to Motion to
24   Dismiss, ECF No. 167, at 14-15. Plaintiff’s argument was rejected now by both the Sixth
25   Circuit in Arizona (Ohio) and by this district court in Arizona II.
26          As also relevant to this litigation, Judge Lanza ruled in Arizona II, that Arizona’s
27   APA claim challenging what Arizona referred to as the “Population Augmentation
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 1   Program” was subject to dismissal because the claim did not challenge a particular agency
 2   action, as is required to proceed under the APA (see Whitewater Draw, 5 F.4th at 1010),
 3   but was instead an “impermissible broad programmatic attack.” Arizona II, 21-CV-617,
 4   ECF No. 64, at 8. This holding is relevant to this litigation, because here, like in Arizona
 5   II, Plaintiff has not identified a specific policy that it is challenging, but instead has
 6   challenged an amalgamation of individual parole decisions it contends is some overarching
 7   policy.
 8             For the Court’s convenience, Defendants attach a copy of Judge Lanza’s decision
 9   in Arizona II is attached to this filing.
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11   Dated: May 3, 2022
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13                                               Respectfully submitted,
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